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                       IN THE UNITED STXTESDISTRICT COURT                         2 '1- 2 2218
                      FOR THE W ESTERN DISTM CT OF V IRGINIA
                                                                             JU         uD   ,c -ax
                           CH ARLOTTESV ILLE D IV ISION                     BY:     '          .
                                                                                             RK
JA M ES TO LLE,
                                                 CivilActionN o.3:17CV00074
       Plaintiff,
                                                 M EM O R AN D UM O PIN IO N

                                                 By:Hon.Glen E.Corlrad
POCKETSONICS,INC.,#!g-
                     k,  .                       SeniorUnited StatesDistrictJudge

       Defendants.


       Plaintiff Jnm es Tolle filed this employm ent discrimination action tmder the Uniform

ServicesEmploymentandReemploymentRightsActof1994 (ççUSER1lA''),38U.S.C.jj4301-
4335,againstPocketsonics,Inc.(sdpocketsonics'),Analogic Corporation,Analogic Limited
(collectively,GdAnalogic''),JeffPompeo,Travis Blalock,Farley Peechatka,and Ronald Rios.
The defendants previously moved to dism iss the com plaint tmder Federal Rule of Civil

Procedme 12(b)(6),arguing thatTolle's claims are barred by a Bonus & GeneralRelease
Agreement (QElkelease Agreemenf') thatTolle signed in consideration for certain bonus and
severance paym ents, and that Tolle had not suffkiently stated a claim against Blalock,

Peechatka,orRios. In response,Tolleconceded thatBlalock and Peechatkaarenotsubjectto
individualliability tmderU SER'
                              RA. However,he opposed the defendants'm otion in a11other

respects.

       On M arch 5,2018,the courtissued a mem orandum opinion and order granting in part

and denying in partthe defendants'm otion to dism iss. Although the courtfound the Release

A greem ent to be clear and tm am biguous,the c'
                                               otu't did not believe that the record had been

sufficiently developedto determinewhethertheReleaseAjreementprovidedbenefitsthatwere
greater than those that.
                       To11e gave up in sipzing the agreem ent,rendering it enforceable tmder

j4302 ofUSERRA.In particular,thecourtfotmdthatddlimiteddiscovery into acompmison of

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benefits, including whether the other employees received severance agreements, (wasj
necessary.'' M ar.5,2018 M em .Op.6,Dkt.N o.24. Because a nlling on the enforceability of

the Release Agreem ent could be dispositive of Tolle's claim s,the cotu't declined to decide

whetherTolle stated aplausible claim againstItios.

       Thepartieshave completed the lim ited discoverypennitted by the court. Thedefendants

have since filed a renewed m otion to dismiss the complaintor,in the alternative,for sllm mary

judgment.Thecourtheld aheming on themotion viateleconferenceonAugust28,2018.The
m otion hasbeen fully briefed and isnow ripeforreview.

                                        Backzround

       Tolle is aveteran ofthe Upited StatesNavy Reserve. Compl.! 15,Dkt.No.1. He
completed his lastactive duty assignmentin July of2009. J-I.
                                                           L ! 17. Tolle was honorably
dischargedfrom theNavyReservein Septemberof2011.J-1.
                                                   L! 19.
       ln February of 2011,Tolle began working as a senior engineer for Pocketsonics,a

technology company that developed a handheld ultrasotmd device known as the Gçsortic

W indow.''Id.! 18;seealsoDecl.ofJeffreyPompeo(ççpompeoDec1.'')! 10,Dkt.No.47.Tolle
rem ained with PocketsonicsuntilSeptem ber 19,2013,the day beforethe company merged with

Analogic,anothertechnology company. Compl.!! 77-78. Priorto themerger,Pocketsonics
employed eightindividuals,including Tolle. Defs.'Resp.to P1.'s 1stSetofInterrogs.2,Dkt.

No.46-1. The other employees were Chief Executive Officer Jeff Pom peo,Travis Blalock,

Drake Guenther,M ichaelFuller,Jermaine Headley,Karen Morgan,and Jacob W egman. J.
                                                                                és
Tolle allegesthatPompeo failed to appreciate Tolle'sm ilitary experience,exhibited biastoward

Tolle forthatservice,and gavepreferentialtreatm enttothe otheremployeesofPocketsorlics,a11

ofwhom werenon-veterans.Compl.!!21-41.




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       In August of 2013, two of Analogic's executive officers, Ronald Rios and Farley

Peechatka,m etwith a11ofthePocketsonicsemployeesto discussAnalogic'spending acquisition

of Pocketsonics. Id. ! 51. Tolle alleges that lGltios and Peechatka promised that all
Pocketsonics employees,including Tolle,would retain their positions and receive permanent

positionswith Analogic afterthe mergerwith Pocketsonics.'' Id.! 52. During themeetings,
Tolle advised Rios and Peechatka ofhism ilitary backgrotmd and requested thatthey Cçconsider

giving him opporttmities to use llis extensive leadership and m anagem ent sldlls from being a

seniorNavyOfficer.''1d.!53.
       On September4,2013,Pocketsonics'Board ofDirectors(E%oard'')held a meeting to
discuss mattersrelated to the pending m ergerwith Analogic. Board M eeting M inutes 1,Dkt.

No.51-1. TheBoard also discussedtheproposedpaym entofbonusesto certain employees. The

m inutes from the meeting indicate that the Board approved the paym ent of GT ransaction

Bonuses''to four employees,including Tolle,which would be contingentupon the successful

completion of the merger with Analogic and the execution of a release agreem ent by the

recipient. J.
            Z 7. TheBoard also approved the paymentofCCFDA Bonuses''to the snme four
em ployees,which would be contingentupon the subm ission ofthe Sonic W indow to the Food

andDrugAdministration (dTDA'').J-I.
                                  L TheBoardproposedtopayTolleaTransaction Bonusin
theamotmtof$13,500 and an FDA Bonusin thesame amount. JZ Thebonusesproposed for
theotherthreeemployeesrangedfrom $19,125to$54,000each.J.
                                                       Z
       The Board also approved the paym ent of EçspecialPre-closing Bonuses''to a11 eight

Pocketsonics employees. Id.8. The Board proposed to pay Tolle and fotlrotheremployeesa

SpecialPre-closing Bonusof$2,000. Theremaining bonusesranged âom $15,000 to $30,000.

JJ..
   S TheBoardagreedthattheSpecialPre-closingBonuseswouldbepaid immediately priorto
theeffectivenessoftheproposedmerger,LI.
                                      J.


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       Analogic ultimately declined to offer Tolle a perm anent position with the company

following the m erger. According to the com plaint,this decision was m ade by Rios,upon the

recommendation ofPompeoandBlalock. See.e.c.,Comp.jr87 (describing awritten statement
from Rios in which he noted that$+0th Pompeo and Blalock affected hisdecision notto hire or

retain Tolle asa regularemployee afterAnalogic's acquisition ofPocketsonics was fna1'').
Instead,Analogic offered Tolle a three-month consulting arrangement,which Tolle rejected.
Decl.ofPatriciaDtlmas(sr llmasDec1.'')!3,Dkt.No.46.Theproposed consulting agreement
was contingent upon the company's acquisition of Pocketsonics by September 13, 2013.

Consulting Agreement ! 1, Dlct.No.46-2. Under the tenns of the proposed consulting
agreement,Tollepould have been paid am axim ttm nm ountof$6,000perweek dtlringthetllree-

monthperiodspecifiedintheagreement.Id.!6.
       A1lofthe otherPocketsonicsemployeeswereoffered and accepted regularemployment

with Analogic,eitherbefore or imm ediately after the m erger was ûnalized on September20,

2013. Dllmas Decl.!! 4-10. The documents delineating the tenns and conditionsoftheir
employmentwith M alogic,including theirrespective compensation packages,have been filed

undersealwith the court. See Sealed Exs.to Dum asDecl.,Dkt.No.50. Folzroftheindividuals

who accepted full-time engineering positions with Analogic were offered nnnualbase salaries

thatexceeded $100,000. 1d. They were also given the opportunity to participate in Analogic's
annualbonus progrnm and its standard benefitprogram thatincluded medical,dental,and life

insurance,disabilityprotection,andthecompany's401(k)plan.Id.Twooftheindividualswho
accepted full-time engineering positions also received Analogic stock units as a sign-on equity

aw ard, as w ell as the opportunity to receive atl additional equity aw ard as partof Analogic's

long-tennincentiveprogrnm.Ld.,s


                                              4
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       On Septem ber 13, 2013, Tolle executed a Bonus & General Release Agreement

(EsReleaseAgreemenf),tmderwhich Tolleagreedthatllisemploymentwolzld terminateon the
business day priorto the closing ofPocketsonics'm ergerwith Analogic,and thathe desired to

tGresolve certain m attersincluding thoserelated to the provision ofcertain bonusopportunitiesto

g'Tbllej from Pocketsonics,the release of claims by E'Folleq againstPocketsonics, and the
termination of(hisjemployment.''ReleaseAgreement1,Dkt.No.47-3.BysigningtheRelease
Agreem ent, Tolle acknowledged that he had been given at least 21 days to consider the

agreem ent,andthathehad been advised to consultwith an attorney abouttheagreem ent'sterm s.

Ld.a! 8. Under the terms of the Release Agreement,Tolle received a STransaction Bonus
Paym ent''of$13,500,a dtseverance Paym ent''of$13,500,and a <tspecialBonus Payment''of
$2,000,a1lintlvaltiableconsideration''forhisgeneralrelease ofclaim sagainstPocketsonics. Id.

!!1,3.Thereleaseprovisionoftheagreementstatesasfollows:
              1 hereby fully and forever generally release and discharge
              Pocketsonics,its current,former arld ftzture parents,subsidiades,
              affiliated companies,related entities,em ployee benefitplans,and
              their fiduciaries, predecessors, successors, ofscers, directors,
              stockholders, agents, employees and assigns (collectively, the
              ççcompany'') from any and a1l claims, causès of action, and
              liabilitiesup through thedateofmy execution ofthisRelease.The
              claimssubjecttothisreleaseinclude,butarenotlimitedto,those
              relating to m y employm ent with Pocketsonics and/or any
              predecessor to Pocketsonics and the termination of such
              em ploym entwhich willbeeffectiveasofthe Tennination Date.In
              tmderstanding the termsofthisRelease and my rights,1havebeen
              advised to consultwith an attorney ofmy choice priorto executing
              this Release. I tmderstand that nothing in this Release shall
              prohibitm efrom exercising legalrightsthatare,asalnatteroflaw,
              notsubjecttowaiver....
Ld=.! 2. In aseparateparagraph,Tollealso agreed asfollows:G$Itmderstand and agreethatby
entering into thisRelease 1nm waiving any and allrightsorclaim sIm ighthave underthe Age

Discrimination in Employm entAct,as nm ended by the Older W orkersBenefitProtection Act,

andthatIhavereceived compensation beyondthattowhich Iwaspreviously entitled.'' Id.! 8.
                                               5
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Tollefurtheracknowledgedthathehad seven daysaftersigningtheReleaseAgreem entin wllich

to revoke it,and thatthe agreem entwould notbe enforceable tmtilafterthe revocation period

expired.Ld-a
       On September 20,2013,the date on which the merger became effective,three of the

Pocketsonicsemployeeswho acceptedenginelringpoqitionswith AnalogicenteredintoaGçside
LetterAgreem ent''concenling thepaymentofabonuscontingenton the submission ofthe Sozlic

W indow totheFDA forç(510(k)clearance''(ITDA Bonus''). SideLetterAgreement,Dkt No.
50-8. TheamountsoftheFDA Bonusesranged from $19,125to$54,000. JlJ
                                                                .Sat2. An earlier
                                                                            -.




version of Tolle's Release Agreem ent included a contingent FDA Bonus in the am olmt of

$13,500. SeePompeo Decl.Ex.D.,DktNo.47-4. Thatbonuswasultim ately replaced with the

Severance Payment in the sam e amount. The parties dispute whether Tolle negotiated this

particularchange.See2ndTolleDecl.!2,Dkt.No.59-1.
       A11seven ofthe otherPocketsonics employees received the tçspecialBonusPaym ent''

approved by theBoard. Pompeo Decl.! 12. Fotlrofthe otheremployeesreceived a Special
Bonus Pam ent in the am otmt of $2,000, the sam e amotmt paid to Tolle. Board M eeting
M inutes5, However,one ofthe employeeswho accepted an engineering position with M alogic

receivedaSpecialBonusPaymentintheamountof$25,000.J.Z Additionally,fiveoftheother
Pocketsonics employeesreceived a çû-l-ransaction BonusPayment'' Pompeo Decl.! 12. The
Transaction Bonus Paym entsm ade to three ofthe em ployeeswho accepted full-tim e engineeling

positionswith Analogicranged from $19,125to $54,000. Board M eeting M inutes5.
       Tolle has filed declarations in response to the pending m otion. In the tsrstdeclaration,

Tolle statesthathe signed theRelease Agreem entççillorderto obtain theonly employee benetks

ghe)received in connection with the Pocketsonics-Analogic mergery''and thathisEGsubjective
aim ...wasnottoobtainbenetkssuperiortothosetmderUSERRA.'' 1stTolleDecl.!(1.Tolle
                                              6
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further avers that atthe tim e he signed the Release Agreem ent,he S'was notaware ...ofthe

degreetowhichthesimilarlysituatednon-veterancoworkersreceivedbenefitssuperior(tohisl.''
J.4.! 2. Tolle emphasizes thathe did notbecome aware of al1the amotmts paid to other
employeestmtil after the instantaction w as filed,and thathe did not isbelieve thatUSER'RA

and/or(hisqGveteran'-relatedrightswereatissuein signingthe(Release)Agreement''Id.!!2,
5. Although Tolle was advised to consultwith an attom ey,he did notretain legalcotmselto

assisthim in deciding whetherto sign theagreement. Id.! 6. lnstead,hespoketo aSGfonner
employer...whom (hejtnlstedtogiveglAimqadviceon contractissues.''1d.
       In responseto Tolle'sfirstdeclaration,the defendants subm itted an em ailindicating that

Tolle lenrned ofthe Side Letter Agreem ent regarding FDA Bonus Paym ents by no later than

Septem ber 20,2013,which was within the tim e period in which he could have revoked the

Release Agreem ent. In a second declaration subm itted in response, Tolle avers that he

inadvertently lenrned aboutthe SideLetterAgreementon September 19,2013,butthatliasofthe

afternoon of September 20,2013,the last day of the revocation period for the .. .Release

Agreement, gheq still did not have knowledge of the specific payments made to other
employees.'' 2d Tolle Decl.!(1. Likewise,Tolle statesthathe had ççno knowledge ofthe
particular Transaction Bonuses,SpecialBonuses and stock pam ent am ounts''m ade to other

Pocketsonicsemployees.J.
                       Z
                                    StandardsofReview

       Pocketsonics,Analogic,Pompeo,and Rios(collectively,Eçthe defendants'')have filed a
renewed motion todismissthecomplaintor,inthealtemative,forsummaryjudgment,arguing
thatTolle's USERRA claims are barred by the Release Agreem ent. The defendantshave also

renewed their previous azgtlm ent that the complaint does not state a plausible claim for
individualliability againstR ios.



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       Because both sides have presented m atters outside the pleadings to support their

respective positionson the issue ofwhetherTolle's USERRA claim s are barred by the Release

Agreement,thecourtwilltreatthe defendants'motion asamotion forsllmmaryjudgmentwith
respectto thatissue. SeeFed.R.Civ.P.12(d)(ç$If,on amotion underRule 12(1
                                                                       $46)or12(c),
m attersoutsidethepleadingsarepresented to and notexcluded by the court,the motion mustbe

treated asone forsllmmaz'
                        yjudgmenttmderRule56.''). Rule56'oftheFederalRulesofCivil
Procedure providesthatççgtlhe courtshallgrantsllmmary judgmentifthe movantshowsthat
there isno genuinedisputeasto any materialfactand themovantisentitled tojudgmentasa
matteroflaw.'' Fed.R.Civ.P.56(a). In deciding whetherto granta motion for sllmmary
judgment,the courtmustçGviewlqthe facts and reasonable inferencesdrawn therefrom in the
lightmostfavorableto thenonmovingparty.'' W oollardv.Gallacher,712 F,3d 865,873 (4th
Cir.2013).
       In lightofthe court'snzling on thefirstissue,itmustalso considerwhetherthe complaint

states a plausible claim for individual liability against Rios. Because the defendants solely

challenge the suo ciency ofthe allegationsagainstRios,and do notrely on any m atters outside

the pleadings to supporttheir position,the courtwillreview this portion of the defendants'

motionunderFederalRuleofCivilProcedttre 12(b)(6).St-
                                                   f'
                                                    hepuposeofaRule 12(b)6)motion
istotestthesufsciencyofacomplaint.''Edwardsv.CitvofGoldsboro,178F.3d231,234 (4th
Cir.1999). To survive dismissaltmderthisrule,G1a complaintmustcontain sufficientfactual
matter,accepted as true,to çstate a claim for reliefthatis plausible on its face.''' Ashcroftv.

lqbal,556 U.S.662,678 (2009) (quoting BellAtl.Com .v.Twomblv,550 U.S.544,570
(2000:. Whenruling on amotiontodismiss,thecourtEGmustassllmea1l(well-pled facts)tobe
true''and ttdraw a11reasonableinferencesin favoroftheplaintiff.''Nem etChevrolet Ltd.v.




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Consumeraffairs.com.Inc.,591F.3d 250,253 (4th Cir.2009)(alteration in original)(intemal
quotationmarksomitted).
                                             Discussion

      tCUSERRA was enacted,in part,çto prohibitdiscrimination againstpersons because of

theirservicein theunifonned services.'''Hillv.M ichelinN.Am..lnc.,252 F.3d307,311(4th
Cir.2001)(quoting 38U.S.C.j 4301(a)(3)). Accordingly,USERRA providesthatany person
who isam emberofauniformed service,orhasperfonned service in a llniformed service,(dshall

notbe denied initialemployment,reemploym ent,retention in em ploym ent,promotion,or any

beneftofemploymentby arlemployeron thebasisofthatmembership ...gorlperformanceof
service .... 38U.S.C.j 4311(a). USERRA furtherprovidesthat galn employershallbe
deemed to have engaged in actions prohibited . .tmder subsection (a), if the person's
membership gor)...servicein thellniformed servicesisamotivatingfactorin the employer's
action,tmlessthe employer can prove thatthe action would have been taken in the absence of

such membership ...or...service.'' ld.j4311(c). 'TherightsconferredtmderUSERRA as
againsta private employermay be enforced by bringing a claim in federaldistrictcourtby the

m ilitary person aggrieved.'' M acev.W illis,259F.Supp.3d 1007,1015 (D.
                                                                      S.D.2017)(citing
38U.S.C.j4323(a)(3)). GçRemediesavailableforviolationsofUSERRA ihclude:(1)injtmctive
relief,(2)lostwagesorbenefitssuffered asaresultofaUSERRA violation,and (3)liquidated

      *
          USERRA definesthetenn Rbenetit''ortlbenefitofemploym çnt''as

                any advantage,profit,privilege,gain,status,account,orinterest(otherthan
                wages or salary for work performed) that accrues by re%on of an
                employmentcontractoragreementoranemployerpolicy,plan,orpractice
                and includes rights and benefits under a penslon plan, a health plan, an
                employee stock ownership plan,insurance coverage and awards,bonuses,
                severance pay,supplem entaland unemploymentbenetks,vacations,and the
                oppodunity to selectwork hoursorlocation ofemploym ent.

38U.S.C.j4303(2).


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dnm ages in an nmotmtequalto the am ountoflostwagesorbenefitsifthe em ployer'sviolation

waswillful.''Id.(citing38U.S.C.j4323(d)(1)).
       In theinstantcase,Tolle claim sthatPocketsonics,Analogic,Pompeo,and lkiosviolated

his rights under USERRA by,inter alia,providing him with Gçlower awards,bonuses, stock

options, and com pensation compared to similarly situated non-veteran employeesy'' and by

GGultimately failing to retain and/orhire (himqin aposition with Analogic,''a1lbecause ofhis
priormilitm'y service. Compl.! 97. In thepending motion,thedefendantsarguethatTolle's
USERRA claim s are barred by the Release Agreem entthatTolle executed on September 13,

2013,and thatthecomplaintfailsto state aclaim forindividualliability againstRios. Thecourt

willaddresseach ofthedefendants'argum entsin turn.

       1.     The Enforceabilitv ofthe R elease A ereem ent

       Courtshave recognized thatthe text and legislative history ofUSERRA indicate thata
             '

veteranmaywaivehisrightstmderthestatute.See.e.:.,Wysockiv.Int,1Bus.u ach.Com.,607
F.3d 1102,1108 (6th Cir.2010). To be enforceable,however,a waivermustbe ûiclearand
tmambiguous,''anditmustpassmustertmder38U.S.C.j4302.J.
                                                     l1.at1107-08. Section4302,
which addressesUSERRA'Srelation to otherlaws,plans,and agreem ents,providesasfollows:

              (a)Notlzing inthischaptershallsupersede,nullifyordiminish any
              Federal or State 1aw (including any local law or ordinance),
              contract, agreement,policy,plan, practice, or other m atter that
              establishes a right or benefk that is more beneficialto,or is in
              addition to,a right or benefit provided for such person in this
              chapter.

              (b)Thischaptersupersedesany Statelaw (including any local1aw
              orordinance),contract,agreement,policy,plan,practice,orother
              m atterthatreduces,limits,oreliminatesin anym nnnerany rightor
              benefk provided by thischapter,includingtheestablishmentofany
              additionalprerequisites to the exercise of any such right or the
              receiptofany such benefk.

38U.S.C.j4302.
                                            10
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       Only a few courtshave had the opporttmity to considerwhethera contractualwaiver of

rights is enforceable tmderthis çhlnique''statutory provision. Vahey v.Gen.M otors Co.,N o.

1:11-cv-00661,2012U.S.Dist.LEXIS 189423,at#13(D.D.C.M ar.1,2012);seealsoW ysocki,
607 F.3d at1109tM m4in,J.,concuning)(notingthatj4302 lçisanexceedingly strangestatute''
and thathe could notçirecalleverhaving encotmtered anything remotely similarin ghisjmore
than thirty yearson the bench''). Those thathave been tasked with applying j 4302 in the
contextofcontractualwaivershave recognizedthattheçccriticalinquiry''iswhethertherightsor

benefts the veteran received by signing the waiver were m ore benelicialthan the rights or

benefitshe agreedto giveup. W ysocki,607 F.3d at1107;see also W ashington v.ShellOi1Co.,

No.2:17-cv-08825,2018 U.S.Dist.LEXIS 97971,at*5 (E.D.La.Jtme 12,2018)(quoting
W ysocki,supra);Vahey,2012 U.S.Dist.LEXIS 189423,at *13 (characterizing j 4302 as
ççpermitting awaiverofrightsonlyforamorebenescialagreemenf).Thisreadingisconsistent
with theregulationsimplementing j4302,which explain thatCEUSERRA establishesafloor,not
a ceiling,for the em ploym ent and reem ploym ent rights and benefits of those it protects.'' 20

C.F.R.j 1002.7. Esln otherwords,an employermay provide greaterrightsand benefitsthan
USERRA requires,butno em ployer can refuse to provide any rightor benefitguaranteed by

USERRA.'' Id. Tlzisreading isalso consistentwith therecognition thatGCUSERRA'Sprovisions

are to be liberally construed in favorofveterans.'' W ysoclci,607 F.3d at1108;seealso Hill,252

F.3d at313 (ffBecause USERRA wasenacted toprotectthe rightsofveteransand membersof
theuniformed services,itmustbebroadlyconstruedinfavorofitsmilitarybeneficiaries.').
       TheUnited StatesCourtofAppealsfortheSixth Circuit'sopinioninW ysockiappearstd
be the only appellate decision squarely addressing whether a release executed by an employee
                       -
                 ,                         ,

passed muster under j 4302. In that case,the plaintiff àlleged that International Businesi
M achines(t&IBM'')terminatedhisemploymentuponhisrettum f'
                                                        rom militaryservice,in violation
                                               11
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of USERRA. W ysoclci, 607 F.3d at 1103. On the same day that his employment was

term inated,theplaintiffsigned arelease aspartofaseparation plan thathenegotiated with IBM .

Id.at1104.Underthetennsofthe release,theplaintiffagreed to waivea11claimsthathem ight

haveagainstIBM ofanylcind,tiEincluding,butnotlimitedto Eclaimsofldiscrimination bmsedon
   veteran status....''' 1d. Therelease gavetheplaintiffatwentp one-day pedodto consider

itpriorto signing,and a seven-day period after signing to revoke hisacceptance. J.
                                                                                 I. The
plaintiffreceived a gross severance paym entof $6,023.65 in exchange forsigning the release.
Id. Therelease speciscally instructed theplaintiffto consultwith an attom ey priorto signing it.

Li The plaintiffaccepted the severance paymentand did notexercisehisdghtto revoke his
acceptance. J#=. There
                     'after, he fled suitagainst1BM forviolating llisrightstmderUSERRA.

Id.at1103.

       On appealfrom the districtcourt's decision granting summary judgmentto IBM ,the
Sixth Circuitheldthatthereleasewasvalidand enforceablelmderj4302.Id.at1108-09.Prior
to reaclling its decision,the Courtnoted thatUSERRA'SSçlegislative history clearly envisioned

thatveteranswould be ableto waive theirindividualUSERRA rightsby clearand tmambiguous

action.'' Id.at1008. The CourtreasonedthatGdtheability to waivetheirUSERRA rightswithout

unnecessary court interference, if they believe that the consideration they will receive for

waiving those rights is m ore beneficialthan ptlrsuing their rights through the courts,is both

valuableand beneficialtoveterans.'' J#.a TheCourtthenttmledtotherecordin thecasebefore
it observing that the release at issue used isclear and tmam biguous language and involved a

valuable nmotmtofconsideration.'' J-
                                   I.
                                    J.s The Courtemphasized thatthe release informed the
plaintiffthatitGtcoveredclaimsbasedon dveteranstatus.'''Id.TheCourtdeterminedthatçGltlilis
clear and unambiguous language informed W ysockithathe Wasw aiving his USEIG A rights

and,in exchange for signing the Release,W ysockireceived over $6,000.00.'' Id. Underthe


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circumstancespresented,theSixth Courtfound that$1itappearled)from therecordthatW ysoclti
understood thatthe Release eliminated hisUSERRA rights,thathe signed the Release because

he believed thattherightsprovided in theRelease werem orebeneficialthan hisUSERRA rights

and,therefore,thattheRelease (wasqexemptedfrom theoperation ofj4302(19 by j4302(a).''
J.Z Notably,theCourtemphasizedthatS%W ysockighad)notpresentedany argumentorevidence
tothe contrmy ''and thatitcould notGfnd any such evidence in therecord.'' J.IJ. The Court
wenton to notethattherewasno evidence ofincapacity,fraud,m isrepresentation,ordtlress,and

thatW ysoclciwasencouragedtoconsultwith an attomey.JZ Based ontherecord beforeit,the
Courtheldthat6E54302 (didqnotinvalidatetheRelease.''J.
                                                     Z
       In a concuning opinion,Judge Boyce M artin em phasized thatW ysoclcirelied strictly on

an tm successf'
              ullegalargumentin response to IBM 'Sm otion,çEinstead ofcoming forward with

evidenceto disputewhetherthe Releaseresulted in a sim ation morebeneticialthan hisUSERRA

rights.'' Jd.at 1109 tM artin,J.,concurring). Accordingly,Judge M artin noted thatthe case
before itwasS'nottherightvehicleforbroadstatementsabouttie application ofsection 4302,9'
and thathe Gçapplaudledqthe majority'sexercise ofrestraintin deciding Ethejcase narrowly
instead ofpermitting thesebad factsto resultin bad lam '' Id. ln concuning in themajority's
decision,Judge M artin once again emphasized thatW ysockiGldid notpresentany evidencethat

w ould suggestthatthe m oney that he received for signing the Release w as less benefk ialthan

hisUSERRA dghts,and thusinadequate undersection 4302(a).'' J.Z at 1110. Judge M artin
notedthat(Elaln affdavitlikely would havesufficedto createaquestion offact''on thisissue.
J.1
  .
  L tiBecauseW ysockipresented nosuch evidencey''JudgeM artin agreedwith themajoritythat
'ttheproperconcluàiop'on thisrecord isthattheRelease resulted in asituation morebeneficialto

W ysocld thanhisUSEIG A rightsandwasthusenforceableundersection 4302(b).''Id.




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       Based on certain language in W ysocki, som e district courts have intem reted this

provision ofUSERRA ççto require a subjective beliefthatthe consideration provided by the
w aiver agreem ent w as m ore beneficial than the rights provided by U SERR A .'' W asllinglon.

2018.U.S.Dist.LEXIS 97971,at*5(citingW ysocki,607 F.3d at1108 tGdclearly,theability to
waive their U SERRA rights without unnecessary court interfçrence, if they believe that the

consideration they willreceive for waiving those rights is m ore beneficialthan pursuing their

rightsthroughthecourts,isboth valuable andbeneficialtoveterans.'l). In W ashinaton,wilich
was before the courton a motion to dismiss,the com plaintexpressly alleged thatthe plaintiff

Gçcould notdeterm ine whetherthe rights provided in the Release were m ore benefk ialthan the

rightsprovided by USERRAO''and thattheplaintifftdsigned theRelease Snotbecausehebelieved

that the rightsprovided in the Agreem ent were more beneficialthan his USERRA rights,but

ratherbecause ofthe severe fnancialdistress and em otionalduress he continued to suffer'asa

result ofthe Defendants'actions.'' 2018 U .S.Dist.LEXIS 97971,at*5.
                                                                  -6. In lightof such

allegations,thedistrictcourtconcludedthatthe defendant'saffirmative defenseofwaiverdid not

appearfrom the face ofthe complaintand therefore was nota valid ground fordismissaltm der

Rule12(b)(6).Id.
       Sim ilarly, in vahey, the United States District Court for the District of Colllm bia
                    .




contrasted the factspresented in the casebeforeitfrom those in W ysocki,and determined thatit

could not Gsconfidently conclude that plaintiff unambiguously believed the severance package

gthathe acceptedqwasmorebeneticialthan hisrightto bring aclaim tmderUSERRA.'' 2012
U .S.D ist.LEXIS 189423,at*15. The distdctcottrtexplained as follow s:

              A s provided by U SERRA ,plaintiff w as entitled to reem ploym ent
              and protection from discharge without cause for one year, but
              tmderthe severance package he received only six m onths'salary.
              See38U.S.C.j4316(c)(1). Plaintiffcould havebelievedthatsix
              months'salary was betterthan nothing,as the plantwas closing
              and hencehisjob no longerexisted. Butasplaintiffcontends,he
                                              14
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              was arguably entitled to the opportlmity to transfer,eitherbecause
              thatopportunity wasoffered to other employeesnotdeployed for
              m ilitary setvice orby virtue ofU SERRA'S tescalator'principle.
              Because he was not offered a transfer,it is tmclear thatplaintiff
              would have chosen the severance package over a transfer
              opporttmity.

Id.(additionalcitations omitted). Accordingly,fKluqnlike in W ysocki,''the districtcourtwas
unable to Gdconclude that plaintiff weighed the benetits of his USERRA rights against the

severance packageand chosethem orebeneficialarrangem ent.'' Id. Thedistrictcourttherefore

denied the defendant's motion to dism iss,once again noting thatitcould notbe said f'
                                                                                    rom the

existing record thattçplaintiffconsciously waived hisU SERRA rightsin thebeliefthatwhathe

wasreceiving undertheReleasewasm ore beneficialtha11hisstatutoryrights.''Id.  -




       Againsttllis backdrop,Tolle and the defendants disagree as to whatstandard of proof

should be employed in detennining whether a contractualwaiver ofrights is eatbrceabletmder

j4302.ConsistentwithW ashin#on andVahev,Tolleargtle;that1hedefend
                                                                .K ts'motionmust
be denied because they have çdfailed to show,as a m atter of 1aw and/orbased on tmdisputed

materialfacts,thatghe)subjectively believed thatthebeneftsofthe (ReleaseAgreementjwere
more beneficialthan hisU SER'
                            RA rights.'' Pl.'sBr.in Opp'n 3,Dkt.No.52. The defendants,

on the otherhand,maintain thatçta çsubjectivebelief standard isnotrequired in assessingthe
validity ofa USERIIA waiver,''and thatthe record conclusively establishes that dithe benefts

plaintiffreceived were morebeneficial,orin addition to,ilisUSER'
                                                               RA rights.'' Defs.'Reply Br.

2,5,Dld.N o.54.

       Both sides have advanced strong mp lm ents in favor of their respective positions on

whether a Gtsubjective belief'standard shotlld be applied.In the court's view,a veteran's
subjective tmderstanding or motivation is one of several factors that may bear on the
determ ination ofwhetherarelease agreem entresulted in a situation m ore beneficialto a veteratl

than hisU SERRA rights. The courtbelievesthatotherpotentially relevantfactors include the
                                         15
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particulartennsoftheagreement,the extenttowhich theveteran wasinvolved in negotiatingthe

agreem ent,whether the veteran obtained the advice ofcotmsel,and a compatison ofhow the

employertreated sim ilarly-sim ated non-veteran employees. Ultim ately,however,the resolution

of the instantmotion does not t'urn on whether Toll: subjectively believed that the rights
provided in the Release Agreem ent were m ore beneficial than ilis U SER'
                                                                        RA rights. Even

asstlming thatTolle'ssubjectivestateofmind isimmaterialorirrelevantto theanalysistmder
j 4302,the courtconcludes,forthe following reasons,thatthe defendantsare notentitled to
summo judgmentbasedontheReleaseAgreement.
       First,theterm softhe Release Agreem ent,when viewed in Tolle'sfavor,do notcompel

the conclusion thatthe agreem entprovided rights thatwere more benetk ialto Tolle than his

U SERRA rights. UnderU SERRA,Tolle had therightnotto be denied çiem ploym ent''orlçany

benestofemployment''on thebasisofhismilitaryservice!38U.S.C.j4311(a).Byexecuting
the Release Agreem ent,Tolle agreed to receive payments totaling $29,000,in exchange.for

releasing thedefendantsfrom ççarly and a11claims...up tluough the dateof(his)execution,''
including claim s relating to his employm ent with Pocketsonics and the term ination of such

employment. Release Agreement! 2. The courtpreviously fotmd such broad language to be
sufsciently clear to waive Tolle's USERRA rights. However,neither this language,nor the

language describing Tolle'spaym entsasEGvaluable consideration,''conclusively establishesthat

the Release Agreementpassesmustertmder j 4302. Ldua! 1. As Judge M artin observed in
W vsocki,tdgjlustbecause(1)awaiverclearlydeclaresanintenttowaiveUSER'
                                                                    RA rightsand(2)
theveteran received substantialconsideration doesnotpennittheie erence thatthe consideration

w as m ore benefcial to the veteran than his U SERR A rights.'' W ysocld, 607 F.3d at 1110

tM artin,J.,concuning). Gçstated differently,the face of the Release does notallow for a
eonclusion of enforceabilityy'' and,at most, Gisatisfied (the defendants'q initial btlrden 'of


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production in asserting the Release.'' Id. For this very reason,the courtfotm d that lim ited

discoverywasnecessary in theinstantcase.

       Second,unlike W ysocki,the record in this case includesadditionalevidencethatwould

suggest thatthe money Tolle received for signing the Release Agreem entwas less beneficial

than hisU SEIG A rights,nnm ely the evidence ofhow Tolle was treated in com parison to his

non-veteran coworkers. It is tm disputed thatTolle was the only Pocketsonics employee who

was notoffered regularemploym ent with Analogic,and thata11ofhisnon-veteran coworkers

received com pensation packagesthatincluded a sizeable base salary,bonus opporhmities,paid

vacation time,and otherem ployee benetks. Likewise,the evidenceproduced dtlring discovery,

when viewed in Tolle's favor,indicates that his bonus/severance payments were signifkantly

lower than the bonus paym ents m ade to similarly-situated, non-veteran em ployees of

Pocketsonics.Although the defendantscorrectly notethatU SERRA doesnotrequire (Gidentical''

treatmentofveteran and non-veteran employees,Defs.'Br.in Supp.11-1j,Dkt.No.45,an
employee carmotbe denied employment or employmentbenefits on the basis ofhis military

service. See 38 U.S.C.j 4311(a). Thatisprecisely whatisalleged here. See Compl.! 97.
Based on the current record,the courtis tmable to conclude thatTolle's Release Agreement

resulted in a sim ation morebeneficialto Tollethan hisrightstmderU SERRA.

       Third,it is not enough that Tolle received benefits that were Sidifferent'' from those

offered to otherPocketsonics employees. Defs.'Br.in Supp.3'
                                                          . Forinstance,in their bdefin

support of the pending motion, the defendants emphasize that ççgnqo other Pocketsonics
em ployeewasoffered tseverance'in cormection with themergerwith Analogic,''and thatcertain

otheremployeesinstead received an FDA bonusthatwas contingenton the subm ission ofthe

SonicW indow totheFDA forclearance. J#=.at2-3. Thedefendants'argumentsinthisregard
do notcarrytheday onsummaryjudgment. Asemphasized above,Tollereceivedthousandsof
                                             17
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dollars less than non-veteran coworkers at Pocketsonics and no offer of full-tim e regular

employm entfrom M alogic. Thus,while Tolle's severancepackagewas clearly ççdifferent''the

courtcarmotsay,as a m atter of law,that itwas m ore beneficialto Tolle than his USERRA

rights.

          Finally, the court is unable to conclude that Tolle's Gireceipt of $29,000 was, by
definition,...$in addition to'hisUSERRA rightsy''thereby rendering the Release Agreem ent

enforceableunderj 4302(a). Defs.'Br.in Supp.2. Thisisnota case in which a policy or
agreem entplainly offered additionalrightsbeyond thoseprovided tm derUSERRA. See.e.2.,20

C.F.R.j 1002.7(c)(:&Forexnmple,although USERRA doesnotrequire an employerto pay ml
employeefortime away f'
                      rom work performing service,an employerpolicy,plan,orpracticethat

providessuch benefitispermissible underUSERRA.''). lnstead,the defendantsmaintain that
Tglle waived his USERRA rights in exchange for the paym ents provided under the Release
             '
Agreement.Thedefen(tantsha'
                          vefailedto explain
                                           'how the s'
                                                     everâncépackagecould beviewed
asbeing Siin addition to''Tolle's USER'
                                      RA rights,ifthose rights were elim inated or otherwise

rendered tmenforceableby theReleaseAgreement.

          Forallofthesereasons,the defendantsarenotentitled to summaryjudgmentbased on
the ReleaseAgreement. Atthisstage of the proceedings,the courtm ustconstrue the evidence

and draw a11reasonable inferencesin favorofTolle. W hen the record isviewed in thatm anner,

itcnnnotbe said thatthere isno genuine dispute asto any m aterialfactand thatthe defendants

are entitled to judgmentas a matteroflaw on the-issue ofwhetherthe Release Agreement
resulted in a sim ation more beneficialto Tolle than his USERRA rights. Accordingly,the

enforceabilityoftheReleaseAgreementtmderj4302cannotbedecidedinthedefendants'favor
onsummaryjudgment.


                                              18
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       II.    The Suflciencv ofthe A llezationsaaainstRios

       The defendants have also renewed their m otion to dismiss the claim for individual

liability against Rios on the basis that he is not an ttemployer''for pup oses of U SERRA.

U SERRA desnes an Cçemployer''as tiany person,institution,organization,or other entity that

pays salary or wages for work perfonned or that has control over employm ent opporttmities,

including ...a person,institution, organization,or other entity to whom the employer has

delegated the performance ofemployment-related responsibilities.'' 38 U.S.C.j4303(4)(A).
USERRA'Saccompanying regulationslikewise statethatan em ployer includes iiany person ...

thathascontroloveremploymentopportunities....'' 20 C.F.R.j1002.5(d)(1). Based onthis
language, courts have held that individuals who have conkol over hiring and firing m.
                                                                                    e

Stemployers''underUSERRA. Croftv.Vill.ofNewark,35 F.Supp.3d 359,368 (W .D.N.Y.
2014)(collectingcases).
       Upon review of the complaint,the courtconcludes that itstates a plausible claim for

individualliabilityagainstRios.'I'hecomplaintincludesmultipleallegationsindicating thatRios

had thepowerto ilireTolleto work forAnalogicand thathe ultim ately decided notto offerTolle

a regularposition with the company. See.e.g.,Compl.! 86 (quoting from a M ay 9,2014
                              1
statem ent from Analogic indicating that û&&M r. Rios decided to accept the earlier

recomm endations ofM r.Pompeo and Dr.Blalock and notto offerM r.Tolle aregularposition

with Analogic''');J#-,! 87 (referencing allOctober*22,2014 m 'itten statement9om Rios in
which heexplained whatCçaffected hisdecision notto llire orretain Tolleasa regularemployee

afterAlplogic'sacquisition ofPocketsorlics'')(emphasisadded).Such allegations,accepted as
true,allow the courtto draw the reasonable inference thatRios had controlover employment

opportunitiesw ith Analogic and therefore w as as an Glem ployer''forpurposesofU SERIIA . See



                                             19
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 Icbal,556 U.S.at678. Accordingly,thedefendants'motlon to dismisson thisgrotmdwillbe

 denied.

                                      Conclusion
       Forthereasonsstated,thedefend= ts'renewed motionto dism issthecomplaintor,in the

 altemative,forsummaryjudgmentwillbedenied. Thepartiesshallproceed withdiscoveryon
 themeritsoftheplaintiffsclaimsofdiscrimination in violation ofUSERRA.
       TheClerk isdirected to send copiesofthism emorandllm opinion andtheaccompanying

 ordertoa1lcounselofrecord.
                    '

       DATBD:uus':        dayofootober, 2018.


                                          SeniorUnited StatesDiskictJudge




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